                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                         CASE NO. 3:3:02CR 190

             V.                                                 ORDER
                                                        (Financial Litigation Unit)

HECTOR RUBEN MCGURK,
                Defendant



   THIS MATTER IS BEFORE THE COURT on Defendant’s pro se Motion for Order to

Seize Prisoner Trust Account (Doc. N. 230) and the Government’s Response (Doc. No. 232) and

Notice (Doc No. 235). According to the Government’s Response and Notice, the Defendant and

the Government resolved the issue raised in Defendant’s Motion by Defendant’s voluntary

payment of $750.00 toward his fine. The Government represents that Defendant no longer seeks

turnover of his account.

   IT IS THEREFORE, ORDERED that the Defendant’s Motion for Order to Seize Prisoner

Trust Account (Doc. No 230 is DENIED.

   SO ORDERED.


                                    Signed: October 29, 2021




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